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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ARIZONA



THOMAS JOHN BJORDAHL,              )
                                   )
                       Plaintiff, )
                                   )
          vs.                      )
                                   )
QWEST COMMUNICATIONS INTERNATIONAL,)
INC., et al.,                      )
                                   )             No. 2:09-cv-0776-HRH
                       Defendants. )
___________________________________)



               This Order Relates to the Following Cases:

                2:09-cv-00776-HRH           2:09-cv-00778-HRH
                2:09-cv-00785-HRH           2:09-cv-00791-HRH
                2:09-cv-00793-HRH           2:09-cv-00794-HRH
                2:09-cv-00798-HRH           2:09-cv-00802-HRH
                2:09-cv-00804-HRH           2:09-cv-00805-HRH
                2:09-cv-00787-HRH           2:09-cv-00796-HRH
                2:09-cv-00797-HRH           2:09-cv-00800-HRH
                2:09-cv-00803-HRH           2:09-cv-00807-HRH


                                  O R D E R

                          Motion for Attorney Fees

     The settling plaintiffs move for an award of attorney fees and

costs.1      This motion is opposed.2         Oral argument has not been

requested and is not deemed necessary.


     1
         Docket No. 38.
     2
         Docket No. 51.

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                                   Background

     On March 31, 2006, Steven Brechler filed a Fair Labor Standards

Act (FLSA) collective action complaint in which he alleged that

Qwest’s call center consultants were not being paid overtime for off-

the-clock work.3 On November 27, 2006, the court denied a motion for

certification of a nationwide class of consultants.4             Conditional

certification of a class that included only consultants from the

consumer     department    of   Qwest’s   Phoenix    call   center   was   then

requested.     On May 21, 2007, the court conditionally certified the

narrower class.      Somewhere between 104 and 110 individuals opted in

to the collective class, although by March 2008, the number of opt-

ins had dropped to 83.

     On March 17, 2009, the court decertified the collective action

and dismissed the claims of the opt-ins without prejudice.5                The

collective     action     was   decertified   because   discovery    revealed

differences in the claims of the opt-ins.           Twenty-six of the former

opt-ins filed individual cases.

     In December 2009, sixteen of the plaintiffs in the individual

cases settled their claims for $13,943.10 combined,6 which was


     3
         See Docket No. 1. in Case No. 2:06-cv-00940-HRH.
     4
         See Docket No. 74 in Case No. 2:06-cv-00940-HRH.
     5
         See Docket No. 326 in Case No. 2:06-cv-00940-HRH.
     6
      Declaration of Daniel C. Barr in Support of Defendant Qwest’s
Opposition to Plaintiffs’ Rule 54(D)(2) Motion for Attorneys’ Fees
                                                     (continued...)

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approximately     30%   of    the   damages      they   sought.7      The    settling

plaintiffs now move for an award of attorney fees and costs.                         The

settling    plaintiffs       seek   an   award    of    fees    in   the    amount   of

$167,322.80 and costs in the amount of $9,646.35.8

                                    Discussion

     Section 216(b) of the FLSA provides that “[t]he court in such

action shall, in addition to any judgment awarded to the plaintiff

or plaintiffs, allow a reasonable attorney’s fee to be paid by the

defendant, and costs of the action.”                   29 U.S.C. § 216(b).           The

settling     plaintiffs      seek   fees   and    costs    incurred        during    the

collective action and also fees and costs incurred while they pursued

their claims in individual actions.              The fees and costs during the

latter time period were billed in two ways.                    There was a general

account that included billings for activities applicable to all of

the individual plaintiffs, and there were individual billing accounts

for each of the settling plaintiffs.

     As an initial matter, defendants contend that the settling

plaintiffs cannot recover any fees and costs incurred during the

collective action. Defendants argue that section 216(b) of the FLSA


     6
      (...continued)
at 2, ¶ 6, Docket No. 52.
     7
      See Plaintiff’s [sic] Reply in Support of Rule 54(D)(2) Motion
for Attorneys’ Fees at 10, Docket No. 53.
     8
      The settling plaintiffs originally sought costs in the amount
of $11,725.82. In their reply brief, they reduced the amount of
their cost request to $9,646.35.

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authorizes an award of fees and costs only in “the action” in which

a plaintiff prevails.         Because the settling plaintiffs did not

prevail in the collective action, defendants argue that the settling

plaintiffs are not entitled to recover any fees and costs incurred

in the collective action.

     The defendants in O’Brien v. Ed Donnelly Enterprises, Inc., 575

F.3d 567, 576 (6th Cir. 2009), made the same argument, which was

rejected by the court.        The court explained that “[s]uch a wooden

reading of the statute is unnecessary” because discovery concerning

the individual plaintiffs’ claims took place during the collective

action. Id. The court reasoned that the individual plaintiffs were

entitled to recover fees and costs incurred during the collective

action if those expenses “benefitted” their claims. Id. This court

finds O’Brien persuasive and similarly holds that the settling

plaintiffs may recover fees and costs incurred during the collective

action, to the extent that those fees and costs benefitted the

settling plaintiffs’ individual claims and to the extent that the

fees are reasonable.

     We turn then to the question of whether the fees the settling

plaintiffs are requesting are reasonable.          “The starting point for

determining a reasonable fee is the ‘lodestar’ figure, which is the

number of hours reasonably expended multiplied by a reasonable hourly

rate.”    Gates v. Deukmejian, 987 F.2d 1392, 1397 (9th Cir. 1992).

To calculate the lodestar, plaintiffs have relied upon the actual


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billing rates of their attorneys and paralegals and have multiplied

those rates times the actual hours expended.

     Defendants      argue   that   the   rates   charged   by   three   of   the

attorneys are unreasonable as are the rates charged by some of the

paralegals.      The three attorneys in question are Wendy J. Harrison,

Guy A. Hanson, and M. Jill Rencher.          Harrison is a partner with 20

years experience who billed at rates of $475, $525, and $575 per hour

during the course of this litigation.9         Hanson is a senior associate

with almost 20 years of experience who billed at the rate of $475 per

hour.10     Rencher is an associate with 1.5 years of experience who

billed at the rate of $250 per hour.11         In support of their argument

that these rates are not reasonable, defendants cite a survey done

by the State Bar of Arizona on billing rates.12 The survey indicates

that the median rate for a lawyer with 16-20 years experience is

$250; for a lawyer with 1-2 years experience, it is $185; and for an

attorney in the field of labor relations, it is $275.13             Defendants

also point out that other attorneys with experience levels similar



     9
      See Affidavit of Guy A. Hanson, Esq. in Support of Plaintiffs’
Motion for Attorneys’ Fees at 7, ¶ 24, Docket No. 43.
     10
          Id.
     11
          Id.
     12
      State Bar of Arizona, Economics of Law Practice in Arizona at
24-25 (2007), pertinent portion is attached as Exhibit 3 to Barr
Declaration, Docket No. 52.
     13
          Id.

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to that of Rencher billed at much lower rates.                  Dana Hooper, who has

five years of experience, billed at a rate of $180; and Ty Frankel,

who   has     one   year   of     experience,    billed    at    a   rate   of   $160.14

Defendants also point out that Harrison and Hanson billed at a rate

higher than their counsel, whose “standard hourly rate ... is $485”,

but   whose     hourly     rate    for   Qwest   matters   is    $446.20.15       Thus,

defendants argue that the rates charged by Harrison, Hanson, and

Rencher are not reasonable. They request that the rates for Harrison

and Hanson be reduced to $400 per hour and the rate for Rencher be

reduced to $160.

      As for the paralegals, defendants take exception to the fact

that some billed at a rate of $145, while some billed at a rate of

$100. Defendants argue that the settling plaintiffs fail to explain

the differences in the rates, and they contend that the                     median rate

for paralegals in the Phoenix market is $100.16                  Defendants request

that all paralegal rates be reduced to $100.




      14
      See Hanson Affidavit at 2, ¶ 4; 3, ¶ 8; and 7, ¶ 24, Docket
No. 43.
      15
      Declaration of Daniel C. Barr in Support of Defendant Qwest’s
Attorneys’ Fee Motion (dated April 14, 2010) at 2, ¶¶ 8-9, Docket
No. 386 in Case No. 2:06-cv-00940-HRH.
      16
      See State Bar of Arizona, Economics of Law Practice in Arizona
at 26 (2007), pertinent portion is attached as Exhibit 3 to Barr
Declaration, Docket No. 52.

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     “A district court should calculat[e] the reasonable hourly rate

according to the prevailing market rates in the relevant community,

which typically is the community in which the district court sits.”

Schwarz v. Sec. of Health & Human Srvcs., 73 F.3d 895, 906 (9th Cir.

1995) (citations omitted).           The court is mindful that “[t]his

determination ‘is not made by reference to rates actually charged the

prevailing party.’”        Id. at 908 (quoting Chalmers v. City of Los

Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986)).            “Rather, the court

‘should be guided by the rate prevailing in the community for similar

work performed by attorneys of comparable skill, experience, and

reputation.’”       Id. (quoting Chalmers, 796 F.2d at 1210-11).

     The court is unconvinced that the actual rates charged by the

settling plaintiffs’ attorneys are out of line with prevailing market

rates. The rates charged by Harrison and Hanson, while high, are not

unreasonable for the Phoenix market. In fact, the rates are similar

to those charged by defendants’ attorneys, rates that the court

previously observed “are no doubt commensurate with customary billing

rates in the community.”17        As for the rates of the paralegals, the

court is also unconvinced that a $145.00 rate is unreasonable,

particularly in light of the fact that defendants’ counsel bills at

least one of their paralegals at a rate of $215.00 per hour.18


     17
      See Order re Motion for Attorney Fees at 3, Docket No. 401 in
Case No. 2:06-cv-00940-HRH.
     18
          See Affidavit of Guy A. Hanson, Esq. in Support of Reply
                                                     (continued...)

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     We next consider whether the number of hours expended were

reasonable, beginning with the time spent on legal work during the

collective action.         The only legal work that reasonably can be

included from the collective action is that which directly benefitted

their individual claims. The settling plaintiffs contend that 1040.1

hours of legal work done during the collective action had a direct

benefit     to   the   claims   of   the    individual   plaintiffs.19     More

specifically, the settling plaintiffs contend that the discovery

taken during the collective action and the work done on the second

certification request provided a direct benefit to their individual

claims. A total of $346,953.00 in fees were incurred in association

with this work.20       The settling plaintiffs seek their proportional

share of this total, which they have calculated to be $58,615.84.21




     18
      (...continued)
Regarding Plaintiffs’ Rule 54(D)(2) Motion for Attorneys’ Fees at 2,
¶ 4, Docket No. 54.
     19
      Qwest Collective Action – Consolidated Task-Based                    Fee
Statement at 1, Exhibit 2, Hanson Affidavit, Docket No. 43.
     20
          Id.
     21
       The settling plaintiffs have calculated their share of the
collective action fees using multipliers based on the total number
of opt-ins. For the period from the inception of the collective
action through March 21, 2008, there were 104 opt-ins, which results
in a multiplier of .154 (16/104). From March 22, 2008 through March
17, 2009, there were 83 opt-ins, which results in a multiplier of
.193 (16/83). See Memorandum of Points and Authnorities in Support
of Plaintiffs’ Rule 54(D)(2) Motion for Attorney’s Fees at 7-8,
Docket No. 42. Defendants do not object to the method used by the
settling plaintiffs to calculate their proportional share.

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     As an initial matter, many of the 1040.1 collective action hours

claimed by the settling plaintiffs were spent on tasks other than the

taking of discovery and the second certification request. The 1040.1

hours include time spent on case management, initial disclosure

statements, legal research, motion practice, notices of discovery and

settlement, discovery requests propounded by defendants, and coding

defendants’ discovery.        The settling plaintiffs have not adequately

explained how any of this work directly benefitted their individual

claims.

     The settling plaintiffs have also not adequately demonstrated

that the second certification request benefitted their individual

claims.      They contend that these fees benefitted their individual

claims because it was the granting of this request that resulted in

notice being sent to eight of the sixteen settling plaintiffs.22

However, given that the second certification ultimately failed, the

court finds that the settling plaintiffs are not entitled to recover

the fees incurred for the work done on the second certification

request.

     The settling plaintiffs have adequately demonstrated that the

discovery taken in the collective action benefitted their individual

claims. Their counsel has set forth the specific documents obtained

in each of the three requests for production that benefitted the

settling plaintiffs’ claims and has explained how the depositions


     22
          Hanson Affidavit at 5, ¶ 18, Docket No. 43.

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that were taken provided a benefit.23 Thus, the court finds that the

time spent on taking discovery from defendants during the collective

action was reasonably expended.

     Defendants set out the hours that they believe were devoted to

such work in Exhibit B to their opposition.24       They have calculated

that the settling plaintiffs’ counsel spent 165.1 hours on work

related to plaintiffs’ written discovery requests and to the taking

of depositions.25     The court’s review of the collective action fee

statement26 provided by the settling plaintiffs reveals an additional

90.9 hours that were spent on tasks related to the discovery

propounded on defendants. In particular, it is the court’s view that

time spent on preparing Rule 30(b)(6) deposition notices, locating

deponents, analyzing the discovery received from defendants, and

dealing with defendants’ incorrect production of documents should be

included.     In sum, the court finds that 256 hours were reasonably

expended on taking discovery during the collective action and that

this work directly benefitted the settling plaintiffs’ claims.          The

settling plaintiffs’ proportional share of fees incurred for the

hours reasonably expended in the collective action is $18,472.26.



     23
          Id. at 5-7, ¶¶ 19-21.
     24
          Docket No. 51.
     25
      Exhibit B at 1-3, Qwest’s Opposition to Plaintiffs’ Rule
54(D)(2) Motion for Attorneys’ Fees, Docket No. 51.
     26
          Exhibit 2, Hanson Affidavit, Docket No. 43.

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     We turn then to the hours expended during the time in which the

settling plaintiffs were pursuing their claims in individual actions.

Some of the fees attributable to the individual actions were billed

on what the settling plaintiffs refer to as a “consolidated basis.”

Any reference in this order to “consolidated” fees, hours, or work

means the fees, hours, or work associated with these billings, even

though the individual actions were never consolidated.

     The settling plaintiffs claim that 306.6 hours of time was

expended on “consolidated” work, resulting in a total of $90,167.00

in fees.   The settling plaintiffs seek their proportional share of

the $90,167.00 in “consolidated” fees, which they have calculated to

be $58,328.96.27

     Defendants argue that some of the “consolidated” hours were not

reasonably expended, but rather were “excessive, redundant, or

otherwise unnecessary[.]”     Hensley v. Eckerhart, 461 U.S. 424, 434

(1983).    In particular, defendants contend that spending more than

40 hours working on the confidential memorandum submitted to the

mediation judge was excessive, as was spending 20 hours preparing for

the mediation and 14 hours working on the individual mediation

memoranda. Defendants also suggest that much of this work could have


     27
       The settling plaintiffs have calculated their proportional
share using a multiplier based on the ratio of the settling
plaintiffs to the total number of individual plaintiffs (16/26 =
.615).    See Memorandum of Points and Authorities in Support of
Plaintiffs’ Rule 54(D)(2) Motion for Attorneys’ Fees at 8, Docket
No. 42. Defendants do not object to the method used by the settling
plaintiffs to calculate their proportional share.

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been done by a less experienced lawyer, i.e., one who did not bill

at the rate of $475 per hour.28       Finally, defendants contend that

plaintiffs propounded unnecessary discovery during this phase of the

case. Defendants contend that a reasonable number of “consolidated”

hours is 209.4.29     Defendants arrived at this number by reducing the

number of hours expended by Harrison from 5.6 to 2; and they reduced

Hanson’s hours from 120 to 60 and Hooper’s from 83.6 to 50.30

     The court finds that the number of “consolidated” hours was

excessive.      The time spent by Hanson on some tasks, particularly

those associated with the mediation, was excessive for an attorney

with his experience. While the court agrees with defendants that the

number of hours attributable to Hanson should be reduced, cutting

Hanson’s hours in half is not warranted.        Rather, the court finds

that a reduction of 40 hours would be reasonable.               Therefore,

Hanson’s hours will be reduced from 120 to 80.       No reductions in the

number of hours attributable to Harrison or Hooper are necessary.

With the reduction to Hanson’s hours, the total number of “consoli-

dated” hours is 266.6, which the court finds to be a reasonable

number of hours to have been expended on the “consolidated” work.


     28
      Hanson, who bills at a rate of $475 per hour, billed approxi-
mately 40% of the “consolidated” hours (120 out of 306.6).       See
Qwest Individual Cases – Consolidated Task-Based Fee Statement at 1,
Exhibit 3, Hanson Affidavit, Docket No. 43.
     29
      See Exhibit D, Qwest’s Opposition to Plaintiffs’ Rule 54(D)(2)
Motion for Attorneys’ Fees, Docket No. 51.
     30
          Id. at 1.

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The settling plaintiffs’ proportional share of the fees incurred for

the 266.6 hours of “consolidated” work is $43,767.71.31

     Finally, the settling plaintiffs claim that 219 hours of work

was reasonably expended on the individual actions. Other than their

general objection to the rates charged by some of the settling

plaintiffs’ attorneys, defendants have raised no objections to the

fees incurred in the individual actions. The court finds the number

of hours expended in the individual actions to be reasonable.           The

fees incurred for the 219 hours expended in the individual actions

are $50,378.00.

     Based on the foregoing, the court finds the lodestar figure to

be $112,617.97.32 “The lodestar figure is presumptively reasonable.”

Rouse v. Law Offices of Rory Clark, 603 F.3d 699, 704 (9th Cir.

2010).      “Adjustments to the lodestar amount are allowed only if

circumstances warrant and are reserved for rare or exceptional

cases.”      Id. (citations omitted).     “Adjustments must be carefully

tailored, drawing from a finite pool of factors relevant to the

reasonableness determination and only to the extent a factor has not

been subsumed within the lodestar calculation.”          Id.    Local Rule

54.2(c)(3) sets forth factors to be considered in assessing whether

attorney fees are reasonable.       The Rule 54.2 factors are almost


     31
      The total “consolidated” fees were $90,167. $19,000 (40 hours
x $475, Hanson’s billing rate) was subtracted from that number,
resulting in a total of $71,167. (71,167 x .615 = 43,767.71).
     32
          18,472.26 + 50,378.00 + 43,767.71 = 112,617.97.

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identical to the factors set forth in Kerr v. Screen Extras Guild,

Inc., 526 F.2d 67, 69-70 (9th Cir. 1975).

     The Rule 54.2 factors are

          (A) The time and labor required of counsel;
          (B) The novelty and difficulty of the questions
          presented;
          (C) The skill requisite to perform the legal
          service properly;
          (D) The preclusion of other employment by
          counsel because of the acceptance of the action;
          (E) The customary fee charged in matters of the
          type involved;
          (F) Whether the fee contracted between the
          attorney and the client is fixed or contingent;
          (G) Any time limitations imposed by the client
          or the circumstances;
          (H) The amount of money, or the value of the
          rights, involved, and the results obtained;
          (I) The experience, reputation, and ability of
          counsel;
          (J) The “undesirability” of the case;
          (K) The nature and length of the professional
          relationship between the attorney and the
          client;
          (L) Awards in similar cases;
          (M) Any other matters deemed appropriate under
          the circumstances.

LRCiv. 54.2(c)(3).

     Factors (A), (C), (E), and (I) have been subsumed in the

lodestar calculation.    The parties’ reasonableness arguments focus

on factor (H).    The settling plaintiffs argue that the fees they are

requesting are reasonable given the value of the rights vindicated

in this case.    They contend that fees awards in FLSA cases are not

measured in relation to the underlying monetary relief obtained by

the plaintiffs.    As the Sixth Circuit has explained,



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            [t]he purpose of the FLSA attorney fees provi-
            sion is to insure effective access to the
            judicial process by providing attorney fees for
            prevailing plaintiffs with wage and hour griev-
            ances. Courts should not place an undue emphasis
            on the amount of the plaintiff’s recovery
            because an award of attorney fees here
            encourage[s] the vindication of congressionally
            identified policies and rights. Indeed, we have
            upheld substantial awards of attorney's fees
            even though a plaintiff recovered only nominal
            damages.

Fegley v. Higgins, 19 F.3d 1126, 1134-35 (6th Cir. 1994) (citations

omitted).   The Ninth Circuit has also explained that “courts should

not reduce lodestars based on relief obtained simply because the

amount of damages recovered on a claim was less than the amount

requested.” Quesada v. Thomason, 850 F.2d 537, 539 (9th Cir. 1988).

      But, the amount of success obtained by the settling plaintiffs

is still a factor to be considered.       See McGinnis v. Kentucky Fried

Chicken of Cal., 51 F.3d 805, 810 (9th Cir. 1994) (observing that

“no reasonable person would pay lawyers $148,000 to win $34,000”).

The settling plaintiffs, while vindicating important rights, only

recovered 30% of the damages that they sought, and they seek to

recover in attorney fees almost twelve times what they recovered in

damages.    While the settling plaintiffs’ lack of success was not as

drastic as in some of the cases cited by defendants,33 it does suggest


     33
      See Spegon v. Catholic Bishop of Chicago, 175 F.3d 544, 558
(7th Cir. 1999) (plaintiff recovered 4.4% of relief sought); Hilton
v. Exec. Self Storage Assocs., Inc., Civ.A. No. H-06-2744, 2009 WL
1750121, at *16 (S.D. Tex. June 18, 2009) (plaintiff recovered 1% of
relief sought); Powell v. Carey Int’l, Inc., 547 F. Supp. 2d 1281,
                                                      (continued...)

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that a reduction to the lodestar amount is warranted. Consideration

of other Rule 54.2 factors also indicates that some reduction to the

lodestar is warranted in this case. The settling plaintiffs’ counsel

do not contend that taking this action precluded them from taking

other work or imposed any particular time limitations upon them. The

settling plaintiffs concede that their FLSA claims were “relatively

straightforward”    and    although    they   contend   that     “the   factual

circumstances      from     which     they    arise     [were]     relatively

complicated[,]”34 it is the court’s opinion that this was a run-of-

the-mill FLSA case.       This was not an undesirable case.

     Defendants suggest that a 67% reduction to the lodestar amount

would be reasonable.       However, given the nature of this case, the

court finds that a 40% reduction to the lodestar represents an

appropriate balance between the settling plaintiffs’ lack of success

and the importance of the rights they vindicated. Thus, the settling

plaintiffs are entitled to an award of $67,570.78 in attorney fees.35


     33
      (...continued)
1296-97 (S.D. Fla. 2008) (plaintiffs recovered approximately 2% of
relief requested); Wales v. Jack M. Berry, Inc., 192 F. Supp. 2d
1313, 1318, 1326 (M.D. Fla. 2001) (plaintiffs recovered less than
15% of relief ,requested).
     34
      Memorandum of Points and Authorities in Support of Plaintiffs’
Rule 54(D)(2) Motion for Attorneys’ Fees at 4, Docket No. 42.
     35
      As a double-check, the court also calculated a lodestar amount
using a rate of $250 per hour and the number of reasonable hours as
determined in this order. No distinction was made between rates for
attorney work and rates for paralegal work.     The court used the
settling plaintiffs’ multipliers to calculate their proportional
                                                      (continued...)

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     As noted above, the settling plaintiffs also request $9,646.35

in costs.       The settling plaintiffs reduced their original cost

request of $11,725.82 to $9,646.35 in response to defendants’

arguments.     The FLSA allows for the recovery of the “costs of the

action.”     29 U.S.C. § 216(b).   The settling plaintiffs are entitled

to $9,646.35 in costs.

                               Conclusion

     The settling plaintiffs’ motion for attorney fees36 is granted.

The settling plaintiffs are awarded $67,570.78 in attorney fees and

$9,646.34 in costs. The court assumes that defendants will pay these

fees and costs and that within thirty days, dismissals will be filed

in the above-numbered cases.

     DATED at Anchorage, Alaska, this 13th day of September, 2010.

                                       /s/ H. Russel Holland
                                       United States District Judge




     35
      (...continued)
share for the collective action fees and the “consolidated” fees.
The lodestar amount using this method was $108,091. If the same 40%
reduction to the lodestar were taken, the settling plaintiffs would
have been entitled to $64,855 in fees.
     36
          Docket No. 38.

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